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Nicholas J. Henderson, Oregon State Bar No. 074027
nhenderson@htattorneys.com
Alex C. Trauman, Oregon State Bar No. 075491
nhenderson@htattorneys.com
Henderson Trauman, PC
101 SW Main Street, Suite 350
Portland, Oregon 97204-3211
Telephone (503) 227-4001
Facsimile (503) 227-4019

       Attorneys for Plaintiff David L. Jackson

Robert J. Schuckit, (Admitted Pro Hac Vice)
rschuckit@schuckitlaw.com
William R. Brown, (Admitted Pro Hac Vice)
wbrown@schuckitlaw.com
Karen B. Reisinger, (Admitted Pro Hac Vice)
kreisinger@schuckitlaw.com
Schuckit & Associates, P.C.
10 W. Market Street, Suite 3000
Indianapolis, IN 46204
Telephone (317) 363-2400
Facsimile (317) 363-2257

Jennifer Lyn Bouman, Oregon State Bar No. 00028
jbouman@bullardlaw.com
Bullard Smith Jemstedt Wilson
1000 SW Broadway, Suite 1900
Portland, OR 97205
Telephone (503) 248-1134
Facsimile (503) 224-8851

       Attorneys for Defendant Trans Union, LLC

                             UNITED STATES DISTRICT COURT
                                  DISTRICT OF OREGON

DAVID L. JACKSON,                                     Case No.            CV-08-0060-MO
Plaintiff,
v.                                                                      PRETRIAL ORDER

HSBC MORTGAGE SERVICES, INC.,
A foreign corporation,
TRANS UNION LLC,
A foreign limited liability company,

Defendants.



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        The following pretrial order is lodged pursuant to L.R. 16.6 and the order of the Court.

I.       NATURE OF THE ACTION

        Plaintiff, David L. Jackson ("Mr. Jackson"), brings this action against Defendant, Trans Union,

LLC ("Trans Union"), pursuant to the Fair Credit Reporting Act ("FCRA"), 15 U.S.C. § 1681 ~.

Trial will be to a jury.    The parties have not consented to trial and entry of judgment by a

magistrate judge.

IT.      SUBJECT MATTER JURISDICTION

        This court has jurisdiction over the claims pursuant to 15 U.S.C. § 1681p and 28 U.S.C. §

1331.

ITI.    AGREED FACTS

         1.    Trans Union is a "consumer reporting agency" as dermed by the FCRA. Trans

Union provides consumer credit reports to subscribers who use the information to make credit

related decisions. Trans Union collects account information from its subscribers and includes

this information in credit reports. When reporting this credit information, the credit grantors

include the consumer identifying information associated with a particular account. Trans Union

stores account and public information in connection with the consumer's identifying information

in its database. Trans Union also reports information regarding consumer credit accounts that

are involved in bankruptcy proceedings. Trans Union does not receive this information from the

courts or from its public record vendors. Rather, Trans Union receives this information from the

creditors themselves.      Trans Union does not receive notices from bankruptcy courts about

bankruptcy proceedings.

        2.     Mr. Jackson is a "consumer" as defined by the FCRA.

         3.    Mr. Jackson had two mortgage loans with HSBC Mortgage Services, Inc.

("HSBC"), accounts ending in 8512 and 8520 ("HSBC 8512" and "HSBC 8520," respectively).



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        4.      On July 27, 2006, Mr. Jackson requested a copy of his consumer disclosure from

Trans Union.

        5.      On July 27, 2006, Trans Union sent Mr. Jackson a copy of Mr. Jackson's

consumer disclosure. As it had been reported to Trans Union by HSBC, the disclosure reflected

that HSBC 8520 had been included in bankruptcy; there was no public record section indicating

that Mr. Jackson had filed bankruptcy.

        6.      Mr. Jackson has no evidence that Trans Union had notice prior to Mr. Jackson's

first dispute that HSBC was not a reliable furnisher of information.

        7.      On July 28, 2006, Mr. Jackson disputed the accuracy of information in his credit

file via internet.

        8.      Trans Union's policy is always to investigate a consumer's non-frivolous dispute

of reported information, and to correct all inaccuracies brought to its attention.         When a

consumer submits a dispute to Trans Union, Trans Union analyzes the dispute to determine if it

can be resolved based solely on the information the consumer submitted. If it cannot, Trans

Union verifies the information with the furnisher that supplied it. To do so, the disputed item

and the relevant information contained in the dispute are recorded on a Consumer Dispute

Verification ("CDY") form, which is then sent to the furnisher.        After receiving furnishers'

responses to CDVs, Trans Union reviews the consumer's file and makes changes or deletions, as

appropriate, based on the CDV responses. Trans Union then sends an updated disclosure to the

consumer advising of the results of the investigation within thirty days ofreeeipt of the dispute.

        9.      In response to Mr. Jackson's dispute, Trans Union sent a CDV form to HSBC

asking that HSBC verify the information HSBC had provided to Trans Union regarding HSBC

8520.




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         10.      Before Trans Union will agree to accept information from a subscriber, Trans

Union conducts an investigation of the proposed subscriber to assure the reliability and viability

of the subscriber. If Trans Union is satisfied, after this investigation, the subscriber is required to

enter into written agreements with Trans Union obligating it to supply accurate information and

to cooperate with investigations. Subscribers are also subject to periodic audits to ensure that

they continue to comply with their obligations to supply accurate information.

         11.      HSBC verified the accuracy of the information it reported to Trans Union

regarding HSBC 8520.

         12.      On August 5, 2006, Trans Union sent Mr. Jackson the results of its

reinvestigation, along with a consumer disclosure dated August 5, 2006.

         13.      At some time between August 5, 2006, and September 26, 2006, through its

normal account information reporting procedures, HSBC stopped reporting to Trans Union that

HSBC 8520 was included in bankruptcy and started to report to Trans Union that HSBC 8512

was included in bankruptcy.

          14.     On September 26,2006, Mr. Jackson requested a copy of his consumer disclosure

via internet.

          15.     On September 26, 2006, Trans Union sent Mr. Jackson a consumer disclosure

dated September 26, 2006; the report indicated that HSBC 8512 was included in Chapter 7

bankruptcy; there was no public record section indicating that Mr. Jackson had filed bankruptcy.

         16.      On October 16, 2006, FIA Card Services made an inquiry on Mr. Jackson's credit

file.

          17.     Mr. Jackson's claim for economic damages is based entirely upon his alleged

inability to obtain a $25,000 business line of credit from FIA Card Services.




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        18.    The Court has ruled that Mr. Jackson suffered no awardable economiclbusiness

damages as a result of Trans Union's actions.

        19.    On October 31, 2006, Mr. Jackson disputed the accuracy of information in his

credit file with Trans Union, via telephone.

        20.    In response to Mr. Jackson's dispute, Trans Union sent a CDV form to HSBC

asking that HSBC verify the infonnation HSBC had provided to Trans Union regarding HSBC

8512.

        21.    HSBC verified the accuracy of the information it reported to Trans Union

regarding HSBC 8512.

        22.    On November 2, 2006, Trans Union sent Mr. Jackson the results of its

reinvestigation, along with a consumer disclosure dated November 2,2006.

        23.    On or about November 22, 2006, Mr. Jackson disputed the accuracy of

information in his credit file, via written letter sent via U.S. Mail.

        24.    Trans Union processed Mr. Jackson's dispute.

        25.    On November 24, 2006, Trans Union sent Mr. Jackson the results of its

reinvestigation, along with a consumer disclosure.

        26.    Mr. Jackson has never filed bankruptcy.

IV.     CLAIMS AND DEFENSES

        Claim One:

        (A)     Mr. Jackson contends that Trans Union negligently failed to comply with the

requirements of the FCRA, specifically:

                (1)    Trans Union failed to follow reasonable procedures to assure the

                        maximum possible accuracy of the information concerning Mr. Jackson,

                        violating 15 U.S.C. § 1681e(I)(b).


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              (2)    Trans Union did not conduct reasonable investigations of disputed

                     information. violating 15 U.S.C. § 168li(a)(l)(A).

              (3)    Trans Union did not review and consider all relevant information

                     submitted by Mr. Jackson, violating 15 U.S.C. § 1681i(a)(4).

              (4)    Trans Union did not promptly provide all relevant information received

                     from Mr. Jackson to the original furnisher of the disputed information,

                     violating 15 U.S.C. § 1681i(a)(2)(B).

              (5)    Trans Union did not promptly delete information found to be inaccurate or

                     incomplete or could not be verified, violating 15 U.S.C. § 168li(a)(5)(A).

Mr. Jackson seeks actual damages, and the costs of the action, including reasonable attorney's

fees and expenses. 15 U.S.C. § 16810.

       (B)    Trans Union contends:

              (1)    Trans Union denies Mr. Jackson's contentions.

              (2)    Trans Union followed reasonable procedures to assure maximum possible

                     accuracy of the information in Mr. Jackson's credit report.

               (3)   Trans Union reasonably relied upon information provided to it by HSBC

                     regarding Mr. Jackson's accounts.

              (4)    HSBC verified the accuracy of the information it provided to Trans Union

                     on two separate occasions.

              (5)    Trans Union conducted reasonable re-investigations of Mr. Jackson's

                     disputes.

              (6)    Trans Union's failure to delete the bankruptcy remark from Mr. Jackson's

                     consumer disclosure within a reasonable time after Mr. Jackson disputed




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                     the remark on or about November 22, 2006, was attributable to human

                      error, mistake, inadvertence or carelessness.

              (7)    Mr. Jackson's alleged damages are the result of acts or omissions on the

                     part of HSBC.

              (8)    Mr. Jackson did not experience emotional distress as a proximate result of

                     any act or omission on the part of Trans Union.

              (9)    Mr. Jackson failed unreasonably to mitigate his alleged damages.


       Claim Two:

       (A)    Mr. Jackson contends that Trans Union willfully failed to comply with the

requirements of the FCRA, specifically:

              (1)    Trans Union failed to follow reasonable procedures to assure the

                     maximum possible accuracy of the information concerning Mr. Jackson,

                     violating 15 U.S.C. § 1681e(1)(b).

              (2)    Trans Union did not conduct reasonable investigations of disputed

                     information, violating 15 U.S.C. § 168li(a)(I)(A).

              (3)    Trans Union did not review and consider all relevant information

                      submitted by Mr. Jackson, violating 15 U.S.C. § 168li(a)(4).

              (4)    Trans Union did not promptly provide all relevant information received

                      from Mr. Jackson to the original furnisher of the disputed information,

                     violating 15 U.S.C. § 168li(a)(2)(B).

              (5)    Trans Union did not promptly delete information found to be inaccurate or

                     incomplete or could not be verified, violating 15 U.S.C. § 168li(a)(5)(A).




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Mr. Jackson seeks actual damages, punitive damages and the costs of the action including

reasonable attorney's fees and expenses. 15 U.S.c. § 1681n.

       (B)    Trans Union contends:

              (1)    Trans Union denies Mr. Jackson's contentions.

              (2)    Trans Union followed reasonable procedures to assure maximum possible

                     accuracy of the infonnation in Mr. Jackson's consumer disclosure.

              (3)    Trans Union reasonably relied upon information provided to it by HSBC

                     regarding Mr. Jackson's accounts.

              (4)    HSBC verified the accuracy of the information it provided to Trans Union

                     on two separate occasions.

              (5)    Trans Union conducted reasonable re-investigations of Mr. Jackson's

                     disputes.

              (6)    Trans Union did not intentionally fail to delete the bankruptcy remark

                     from Mr. Jackson's consumer disclosure.

              (7)    Trans Union did not recklessly fail to delete the bankruptcy remark from

                     Mr. Jackson's consumer disclosure.

              (8)    Trans Union's failure to delete the bankruptcy remark from Mr. Jackson's

                     consumer disclosure within a reasonable time after Mr. Jackson disputed

                     the remark on or about November 22, 2006, was attributable to human

                     error, mistake, inadvertence or carelessness.

              (9)    Mr. Jackson's alleged damages are the result of acts or omissions on the

                     part of HSBC.

              (10)   Mr. Jackson did not experience emotional distress as a proximate result

                     of any act or omission of Trans Union.


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               (11)    Mr. Jackson failed unreasonably to mitigate his alleged damages.

V.     OTHER LEGAL MATTERS

       Plaintiff intends to file:

       (A)     Motions in Limine to exclude evidence, testimony, or reference to claims against

HSBC, including captions and pleadings.

       Trans Union intends to file:

       (A)     Motions In Limine to exclude:

               (1)      Evidence of, testimony about or reference to pnor complaints/cases

                        involving Trans Union's allegedly unreasonable procedures to assure

                       maximum possible accuracy of a consumer's report information;

               (2)      Evidence of, testimony about or reference to prior complaint/cases

                        involving Trans Union's allegedly inadequate reinvestigation procedures;

               (3)      Evidence of, testimony about or reference to business damages;

               (4)      Evidence of, testimony about or reference to emotional distress or other

                        damages of persons other than Mr. Jackson including, but not limited to,

                        Mrs. Jackson;

               (5)      Evidence of, testimony about or reference to Trans Union's financial

                        condition, net worth and profits.

               (6)      Evidence of, testimony about or reference to the policies, procedures,

                       reactions, actions or other conduct of other credit reporting agencies with

                       respect to Mr. Jackson's communications and/or disputes with those other

                        credit reporting agencies;

               (7)      Evidence of prior complaints/cases involving other credit reporting

                        agencies' allegedly unreasonable procedures to assure maximum possible


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                  accuracy of    consumer's report information or involving other credit

                  reporting agencies' allegedly inadequate reinvestigation procedures;

           (8)    Hearsay statements made by Mr. Jackson, including, but not limited to:

                   i. What lenders said regarding Mr. Jackson's loan applications and/or
                      credit information;

                  ii. What other people said regarding loan applications, credit information,
                      Mr. Jackson's disputes, the various resolutions thereof or Mr.
                      Jackson's credit problems;

                  iii. References to changes in credit scores made by any third party;

                  iv. References to or statements made by Mr. Jackson's credit advisor
                      regarding his application for credit and any reason(s) for a credit
                      denial;

           (9)    Evidence of, references to or argument as to the location of Trans Union's

                  consumer relations office or its operators, including the names of such

                  operators;

           (10)   Evidence of, references to or arguments regarding any other allegedly

                  inaccurate and/or incorrect information on Mr. Jackson's credit reports or

                  consumer disclosures;

           (11)   Any actions by Trans Union or damages to Mr. Jackson prior to thirty

                  days after Mr. Jackson's first dispute was received on July 28, 2006;

           (12)   Any actions or damages after March 31, 2008, the date no HSBC account

                  was reporting in bankruptcy and after which Mr. Jackson's damages could

                  not have been caused by Trans Union;

           (13)   Opinion testimony by lay witnesses as to the reasonableness of Trans

                  Union's procedures and speculation regarding Trans Union's motives or

                  impetus for any act or omission;



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                (14)   Evidence, references or arguments regarding offers of compromise made

                       in this case;

                (15)   Evidence, references or arguments regarding Trans Union's liability

                       msurance;

                (16)   Other evidence for reasons not reasonably known to Trans Union until

                       after the deposition of Mr. Jackson's expert witness and/or after Mr.

                       Jackson files his Exhibit Lists, Lay Witness Statements and Itemized List

                       of Special Damages.

        (B)     Motion To Bifurcate Calculation Of Punitive Damages Until After Jury Has

Determined Liability For Willfulness.

        (C)     Motion To Exclude Mr. Jackson's Expert Witness Testimony Under Federal

Rules of Civil Procedure 37(c)(1) and 26(a)(2)(B) and Under Federal Rule Of Evidence 702 And

Daubert.

VI.     AMENDMENTS TO THE PLEADINGS

        None.

        Dated September 1, 2009.
                                              /s/ Nicholas J. Henderson
                                              Nicholas J. Henderson, OSB #074027
                                              nhenderson@htattomeys.com
                                              Telephone: (503) 227-4001
                                              Facsimile: (503) 227-4019
                                              Of Attorneys for Plaintiff David L. Jackson




        Dated September 1, 2009.
                                              /s/ Robert J. Schuckit
                                              Robert J. Schuckit, Admitted pro hac vice
                                              rschuckit@schuckitlaw.com




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                                  Telephone (317) 363-2400
                                  Facsimile (317) 363-2257
                                  Of Attorneys for Defendant Trans Union, LLC




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                                  ORDER

     SO ORDERED.

                     Dated this   S-

                     The Honorable Michae       . osman
                     United States District Court Judge




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